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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND
                            (Greenbelt Division)


 KILMAR ARMANDO ABREGO                            Civil No.: 8:25-cv-00951-PX
 GARCIA et al.,

               Plaintiffs,                        DEFENDANTS’ RESPONSE TO
                                                  AMENDED PRELIMINARY
        v.                                        INJUNCTION ORDER

 KRISTI NOEM, Secretary of Homeland
 Security, et al.,

               Defendants.



         RESPONSE TO AMENDED PRELIMINARY INJUNCTION ORDER

       Defendants are unable to provide the information requested by the Court on

the impracticable deadline set by the Court hours after the Supreme Court issued its

order. The Supreme Court’s order directs the Court to “clarify its directive, with due

regard for the deference owed to the Executive Branch in the conduct of foreign

affairs.” Abrego Garcia v. Noem, 25A949, 604 U. S. ____ (2025), Op. at 2. The Court

has not yet clarified what it means to “facilitate” or “effectuate” the return as it relates

to this case, as Plaintiff is in the custody of a foreign sovereign. Defendants request—

and require—the opportunity to brief that issue prior to being subject to any

compliance deadlines. Needless to say, Defendants were under no obligation to take

action under the court’s order while it was administratively stayed by the Chief

Justice of the United States. In light of the insufficient amount of time afforded to

review the Supreme Court’s Order following the dissolution of the administrative stay
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in this case, Defendants are not in a position where they “can” share any information

requested by the Court. That is the reality. Defendants received the order late in the

evening last night. They are reviewing the order and actively evaluating next steps.

It is unreasonable and impracticable for Defendants to reveal potential steps before

those steps are reviewed, agreed upon, and vetted. Foreign affairs cannot operate on

judicial timelines, in part because it involves sensitive country-specific considerations

wholly inappropriate for judicial review.

                                            Respectfully Submitted,

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